        Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 1 of 10



                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
MOHAMMAD IBRAHIM BAZZI                    )
       Rue Francois El Hajj               )
       Park Palace Building               )
       5th Floor, Bar Idriss              )
       Beirut, Lebanon                    )
                                          )
                             Plaintiff,   ) Civil Action No. 1:19-cv-00484 (RDM)
                                          )
       v.                                 )
                                          )
ANDREA M. GACKI                           ) AMENDED COMPLAINT
in her official capacity as               )
       Director of the United States      )
       Department of the Treasury         ) ECF
       Office of Foreign Assets Control   )
       1500 Pennsylvania Avenue, NW       )
       Freedman’s Bank Building           )
       Washington, D.C. 20220             )
                                          )
                             Defendant,   )
                                          )
       and                                )
                                          )
THE UNITED STATES DEPARTMENT              )
OF THE TREASURY, OFFICE OF FOREIGN )
ASSETS CONTROL                            )
       1500 Pennsylvania Avenue, NW       )
       Freedman’s Bank Building           )
       Washington, D.C. 20220             )
                                          )
                             Defendant.   )
__________________________________________)

       Plaintiff Mohammad Ibrahim Bazzi (hereinafter referred to as “Bazzi”) brings this

Amended Complaint for Declaratory and Injunctive Relief against Defendants the United States
         Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 2 of 10



Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) and its Director,

Andrea M. Gacki, and in support of his amended complaint1 alleges the following:

                                   NATURE OF THE CASE

       1.       This lawsuit seeks the Court’s intervention to order Defendants to provide

adequate notice for their May 17, 2018 designation of Bazzi as a “Specially Designated Global

Terrorist” (“SDGT”) pursuant to Executive Order (“E.O.”) 13224. That designation resulted in

Bazzi’s name being added to OFAC’s Specially Designated Nationals and Blocked Persons List

(“SDN List”).

       2.       Pursuant to a Joint Motion for Scheduling Order granted by this Court, on June

12, 2019 Defendants transmitted to Bazzi’s counsel the administrative record compiled in

support of their action to designate Bazzi. The disclosed administrative record was contained a

heavily redacted Evidentiary Memorandum, an unclassified summary of the evidence

purportedly summarizing the redacted information contained in the Evidentiary Memorandum,

and a copy of a May 17, 2018 press release announcing Bazzi’s designation.

       3.       OFAC’s reasoning and evidence in the “Basis for Determination” section of the

Evidentiary Memorandum is almost entirely redacted. See A.R. 0020-0022. This includes certain

portions and corresponding exhibits of that section that are marked unclassified yet redacted. See

e.g. Id. at Note 8-9, 11, 15. There is no evidence disclosed in the redacted Evidentiary

Memorandum to support OFAC’s determination to designate Bazzi under Section 1(d)(i) of E.O.

13224—i.e. no statement of reasons Defendants may have had to believe that Bazzi “…assists in,

sponsors, or provides financial, material, or technological support for, or financial or other

services to or in support of HIZBALLAH.” A.R. 0016 and 0018.


1
 A redlined comparison of the amended pleadings is attached as an exhibit pursuant to the
Court’s Standing Order in Civil Cases.

                                                2
         Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 3 of 10



        4.      The unclassified summary is limited to conclusory statements alleging that Bazzi

has engaged in dealings with Hizballah and other SDGT designated persons, and otherwise

provides scant information in support of the designation criteria in Section 1(d)(i) of E.O. 13224.

        5.      OFAC has not taken reasonable steps to limit the unfairness to Bazzi arising from

its heavy reliance on classified and otherwise privileged materials. Thus, Bazzi continues to be

deprived of adequate notice as to the basis of his designation. Bazzi therefore appeals to this

honorable Court to order Defendants to provide adequate notice as to the basis of his May 17,

2018 designation, that is due him as a matter of law.

                                  JURISDICTION AND VENUE

        6.      This action arises under the International Emergency Economic Powers Act, 50

U.S.C. § 1701 et seq., and the Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq.

This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

this action arises under the laws of the United States.

        7.      This Court may grant declaratory relief under the Declaratory Judgment Act, 28

U.S.C. § 2201 et seq., and Fed. R. Civ. P. Rule 57. This Court may grant injunctive relief in

accordance with Fed. R. Civ. P. Rule 65.

        8.      Venue is proper in the District of Columbia pursuant to 28 U.S.C. §§ 1391(b) and

(e), as the Defendants reside in this District.

                                           THE PARTIES

        9.      Mohammad Ibrahim Bazzi is and was at all times relevant herein a citizen of

Lebanon. Bazzi currently resides at Rue Francois El Hajj, Park Palace Building, 5th Floor, Bar

Idriss, Beirut, Lebanon.




                                                  3
         Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 4 of 10



        10.     On May 17, 2018, Bazzi was designated as a SDGT under E.O. 13224 and his

name was added to the SDN List.

        11.     Defendant OFAC is a federal administrative agency of the United States

Department of the Treasury, located at 1500 Pennsylvania Ave., NW, Freedman’s Bank

Building, Washington D.C. 20220. The United States Department of the Treasury is responsible

for maintaining the financial and economic security of the United States. The United States

Department of the Treasury is also responsible for overseeing various agencies, including OFAC.

OFAC is responsible for maintaining and administering the SDN List, including by placing

persons on and removing persons from the SDN List consistent with E.O. 13224 and the

implementing regulations located at 31 C.F.R. Parts 501 and 594, the “Reporting, Procedures and

Penalties Regulations” and the “Global Terrorism Sanctions Regulations,” respectively. OFAC

was responsible for designating Bazzi under E.O. 13224.

        12.     Defendant Andrea M. Gacki is the Director of OFAC. Ms. Gacki is sued in her

official capacity.

                                 FACTUAL ALLEGATIONS

        13.     On May 17, 2018, Defendants issued a press release alleging that Bazzi was

designated as a SDGT under E.O. 13224 for “assisting in, sponsoring, or providing financial,

material, or technological support for, or financial or other services to or in support of,

Hizballah.” A.R. 0002-0010. That language reflects the designation criteria found in E.O.

13224, Section 1(d). On the same day, Bazzi was added to the SDN List with the “[SDGT]”

identifier. See A.R. 0014.

        14.     Approximately one week later, on May 23, 2018, OFAC published a Federal

Register Notice of Bazzi’s designation that provided a separate and distinct basis of designation




                                               4
           Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 5 of 10



from that found in Defendants’ Press Release. The Federal Register Notice indicated that Bazzi

was designated under E.O. 13224, Section 1(c) for “acting for or on behalf of HIZBALLAH, an

entity determined to be subject to E.O. 13224.” See A.R. 0014-0015 (83 Fed. Reg. 23,997-

23,998).

       15.     On April 19, 2019, after Bazzi filed his prior complaint in the instant matter,

OFAC published a new Federal Register Notice updating Bazzi’s entry on OFAC’s SDN List to

clarify that his designation was imposed under Section 1(d)(i) of E.O. 13224. See A.R. 0016 (84

Fed. Reg. 16,567).

       16.     OFAC’s administrative record relating to Bazzi’s designation was comprised in

part of an Evidentiary Memorandum and unclassified summary. The only unredacted portions of

the Evidentiary Memorandum’s Basis for Determination section were Bazzi’s full name and a

restatement of the designation criteria of Section 1(d)(i) of E.O. 13224. As the remaining

portions of that section are redacted, the Evidentiary Memorandum does not provide any of the

reasons on which Defendants’ based their conclusion that Bazzi’s conduct has satisfied the

designation criteria of Section 1(d)(i) of E.O. 13224. See A.R. 0020-0022.

       17.     Furthermore, certain portions of the Evidentiary Memorandum that are marked

“(U”)—i.e. unclassified—are also redacted. See A.R. 0020-0022 at Note 8-9, 11, 15; See also

A.R. 0027-0029 at Exhibits 2, 6, 9, 17, 21, and 40.

       18.     The unclassified summary portion of the administrative record consists of six

brief paragraphs, half of which—i.e. paragraphs 1, 5, and 6—parallel the conclusory allegations

that OFAC made in its May 17, 2018 press release. See A.R. 0001; Compare with A.R. 0002-

0010 (Defendants’ Press Release of May 17, 2018).




                                                5
         Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 6 of 10



       19.     The remaining paragraphs—i.e. paragraphs 2, 3, and 4—of that unclassified

summary are also limited to conclusory statements alleging that Bazzi has engaged in dealing

with Hizballah and/or other SDGT persons designated for their purported Hizballah affiliation,

and otherwise provide conclusory allegations regarding such dealings.

       20.     Defendants’ press release and the unclassified summary both indicate, with

mirroring language, that Bazzi’s designation is premised on the allegation that Bazzi is a “key

Hizballah financier who has provided Hizballah financial assistance for many years and has

provided millions of dollars to Hizballah generated from his business activities.” See A.R. 0002-

0010; Compare with A.R. 0001.         Neither the press release nor the unclassified summary,

however, identifies any reasoning to establish how OFAC arrived at that conclusion or how he

provided “millions of dollars” to Hizballah.

       21.     The unclassified summary and press release allege that Bazzi facilitated,

collaborated, engaged in, or was otherwise involved in business or financial relations with

SDGTs and/or Hizballah—e.g. Adham Tabaja and Ali Youssef Sharara—between 2010 to early

2017. These records, however, do not provide any details as to the nature of those business or

financial relations. Further, they do not indicate how those conclusory allegations support the

premise that he is a Hizballah financier, how he provided “millions of dollars” to Hizballah, or

how it satisfies the designation criteria in Section 1(d)(i) of E.O. 13224. See A.R. 0001-0010.

       22.     For example, the third paragraph of the unclassified summary alleges that “[a]s of

early 2017, Bazzi and Ali Sharara utilized The Gambia to transfer funds to Hizballah.” A.R.

0001. This conclusory statement provides no details of any kind whatsoever regarding the how

the Gambia was used by Bazzi, what was Bazzi’s involvement in the transfer of funds, nor an

explanation of how a country could be used to send funds.




                                                6
         Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 7 of 10



       23.     Further, the fourth paragraph of the unclassified summary alleges that “Sharara

and Bazzi operated several joint businesses in The Gambia, including Spectrum Investment

Group S.A.L Holding and Euro Africa Group.” A.R. 0001. This conclusory statement, however,

provides no detail as to the nature or manner of those operations, when those operations

occurred, nor how any purported joint operations relate to the designation criteria of Section

1(d)(i) of E.O. 13224.

       24.     Further, the disclosed record fails to establish how the allegations found in the

Additional Information section of the Evidentiary Memorandum relate to or support Bazzi’s

designation. The Additional Information section alleges that Bazzi has relations to persons

designated under separate and distinct sanctions programs administered by OFAC—i.e. Yahya

Jammeh designated pursuant to E.O. 13818, or the Joumaa Drug Trafficking and Money

Laundering Organization and Ali Kharroubi designated pursuant to the Foreign Narcotics

Kingpin Designation Act. It does not, however, provide any reasoning to establish why or how

OFAC concluded that Bazzi is a Hizballah financier, how he provided “millions of dollars” to

Hizballah, or how it is connected to the designation criteria in Section 1(d)(i) of E.O. 13224. See

A.R. 0022-0026 (Additional Information section); See also A.R. 0001 and 0005.                    The

information in the Additional Information section was only included for purposes of denigrating

Bazzi in OFAC’s press release and plays no supporting role as to the basis of his designation.

       25.     The disclosed administrative record constitutes inadequate notice and deprives

Bazzi a meaningful opportunity to respond, rebut, or otherwise correct the allegations relied

upon for his designation through OFAC’s administrative reconsideration process that OFAC. 31

C.F.R. § 501.807.




                                                7
           Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 8 of 10



                                     CAUSES OF ACTION

                                            COUNT I

       26.     Bazzi re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.

       27.     In the post-deprivation context, the Fifth Amendment’s Due Process Clause

requires notice reasonably calculated under all the circumstances to apprise aggrieved parties of

the allegations against them so that they have the opportunity to make a meaningful response.

       28.     Defendants are required to provide Bazzi with an understanding of the allegations

supporting their designation action under Section 1(d)(i) of E.O. 13224, so that he may have the

opportunity to make a meaningful response.

       29.     Defendants disclosed administrative record fails to provide Bazzi with an

understanding of the allegations supporting their designation action.

       30.     Defendants have violated Bazzi’s right to due process under the Fifth Amendment

to the United States Constitution.

                                            COUNT II

  DEFENDANTS’ FAILURE TO PROVIDE BAZZI SUFFICIENT NOTICE OF THE BASIS
        FOR HIS DESIGNATION UNDER E.O. 13224 VIOLATES THE APA

       31.     Bazzi re-alleges and incorporates by reference as if fully set forth herein the

allegations in all preceding paragraphs.

       32.     Agency action, findings, and conclusions found to be arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law, or without observance of procedure

required by law, shall be held unlawful by a reviewing court and set aside. 5 U.S.C. § 706(2)(A)

and (D).




                                                 8
         Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 9 of 10



       33.     Post-deprivation due process requires notice reasonably calculated under all the

circumstances to apprise aggrieved parties of the allegations against them so that they have the

opportunity to make a meaningful response.

       34.     Defendants are required to provide Bazzi with an understanding of the allegations

supporting their designation action under Section 1(d)(i) of E.O. 13224, so that he may have the

opportunity to make a meaningful response.

       35.     The disclosed administrative record fails to provide Bazzi with an understanding

of the allegations supporting Defendants’ designation action.

       36.     Defendant’s failure to provide Bazzi with adequate notice of the basis underlying

his designation under E.O. 13224 is in violation of the APA.

                                    RELIEF REQUESTED

WHEREFORE, Bazzi respectfully requests that this Court:

       A.      Review all material that OFAC relied upon—including classified, classified by

               compilation, and otherwise privileged information—in designating Bazzi;

       B.      Declare Defendants’ reliance on irrelevant, immaterial, or unduly repetitious

               evidence, within the redacted portions of the administrative record, as unlawful

               under the APA, and jointly or severally set aside that evidence;

       C.      Order Defendants to adequately explain why all redacted portions of the

               administrative record—including classified, classified by compilation, and

               otherwise privileged information—lawfully fall within the scope of those

               categories;

       D.      Declare that Defendants’ failed to provide sufficient notice under the U.S.

               Constitution, and order them to do so;




                                                9
       Case 1:19-cv-00484-RDM Document 9 Filed 07/12/19 Page 10 of 10



      E.     Declare that Defendants’ failed to provide sufficient notice under the APA, and

             order them to do so;

      F.     Grant an award to Bazzi of his costs and attorneys’ fees incurred in this action;

             and

      G.     Award Bazzi any other further relief as the Court may deem just and proper.



Dated: July 12, 2019

                                                         Respectfully submitted,

                                                         /s/ Erich C. Ferrari, Esq.
                                                         Erich C. Ferrari, Esq.
                                                         Ferrari & Associates, P.C.
                                                         1455 Pennsylvania Ave., NW
                                                         Suite 400
                                                         Washington, D.C. 20004
                                                         Telephone: (202) 280-6370
                                                         Fax: (877) 448-4885
                                                         Email: ferrari@falawpc.com
                                                         D.C. Bar No. 978253

                                                         Attorney for Plaintiff
                                                         Mohammad Ibrahim Bazzi




                                            10
